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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION

 THOMAS CURTIS and JANICE                              Cause No: CV-17-94-BLG-SPW
 CURTIS,

                 Plaintiffs,
                                                    STIPULATION FOR DISMISSAL
 vs.                                                     WITH PREJUDICE

 SAFECO INSURANCE COMPANY
 OF ILLINOIS, SAFECO GENERAL
 AGENCY, INC., SAFECO
 INSURANCE, and JOHN DOES 1-10

                 Defendants.

       It is hereby stipulated between Plaintiffs Thomas and Janice Curtis and Defendants

Safeco Insurance Company of Illinois, Safeco General Agency, Inc. and Safeco Insurance, by

and through their respective attorneys of record, that the above-entitled action be, and the same

hereby is, dismissed with prejudice, as being fully settled on the merits, each party to bear their

own attorneys’ fees and costs. A proposed Order is attached for the Court’s consideration and

convenience.
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      Dated this 14th day of December, 2017.

                                  WESTERN JUSTICE ASSOCIATES, PLLC


                                  /s/ Domenic A. Cossi
                                  DOMENIC A. COSSI
                                  Attorney for Plaintiffs


                                  MATOVICH, KELLER & MURPHY, P.C.


                                  /s/ Brooke B. Murphy
                                  BROOKE B. MURPHY
                                  Attorney for Defendants




                          CERTIFICATE OF SERVICE

        I hereby certify that on the 14th day of December, 2017, a true and accurate
copy of the foregoing was served upon the parties listed below by electronic means
to all of the parties noted in the Court’s ECF transmission facilities:

      Brooke B. Murphy
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                                           /s/ Domenic A. Cossi
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